Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 1 of 20 PageID
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Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 2 of 20 PageID
                                     372
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 3 of 20 PageID
                                     373
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 4 of 20 PageID
                                     374
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 5 of 20 PageID
                                     375
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 6 of 20 PageID
                                     376
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 7 of 20 PageID
                                     377
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 8 of 20 PageID
                                     378
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 9 of 20 PageID
                                     379
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 10 of 20 PageID
                                      380
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 11 of 20 PageID
                                      381
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 12 of 20 PageID
                                      382
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 13 of 20 PageID
                                      383
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 14 of 20 PageID
                                      384
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 15 of 20 PageID
                                      385
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 16 of 20 PageID
                                      386
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 17 of 20 PageID
                                      387
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 18 of 20 PageID
                                      388
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 19 of 20 PageID
                                      389
Case 8:25-cv-01119-MSS-LSG   Document 10-30   Filed 06/02/25   Page 20 of 20 PageID
                                      390
